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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )            8:06CR61
                       Plaintiff,                   )
                                                    )
       vs.                                          )              ORDER
                                                    )
ARMANDO RODRIGUEZ,                                  )
                                                    )
                       Defendant.                   )


       This matter is before the court on the motion for an extension of time by defendant
Armando Rodriguez (Rodriguez) (Filing No. 50). Rodriguez seeks and additional two
weeks in which to file pretrial motions in accordance with the progression order (Filing No.
14). Rodriguez has filed an affidavit wherein he consents to the motion and acknowledges
he understands the additional time may be excludable time for the purposes of the Speedy
Trial Act (Filing No. 59). Upon consideration, the motion will be granted.
       IT IS ORDERED:
       Defendant Rodriguez's motion for an extension of time (Filing No. 50) is granted.
Defendant Rodriguez is given until on or before April 14, 2006, in which to file pretrial
motions pursuant to the progression order. The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between March 30, 2006 and April 14, 2006, shall be deemed excludable time in
any computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 30th day of March, 2006.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
